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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                8:11CR386
                     Plaintiff,               )
                                              )
       vs.                                    )                  ORDER
                                              )
IBRAHIM Z. MATARI and                         )
CRYSTAL L. FOSTER,                            )
                                              )
                     Defendants.              )
       This matter is before the court on the motion to continue by defendant Crystal L.
Foster (Foster) (Filing No. 47). Foster seeks a continuance of the trial of this matter which
is scheduled for May 21, 2012. Foster has filed an affidavit wherein Foster represents that
she consents to the motion and acknowledges she understands the additional time may
be excludable time for the purposes of the Speedy Trial Act. Foster’s counsel represents
that government’s counsel and Matari’s counsel have no objection to the motion. Upon
consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Foster's motion to continue trial (Filing No. 47) is granted.
       2.     Trial of this matter as to both defendants, Matari and Foster, is re-scheduled
for August 20, 2012, before Judge Joseph F. Bataillon and a jury. The ends of justice
have been served by granting such motion and outweigh the interests of the public and the
defendants in a speedy trial. The additional time arising as a result of the granting of the
motion, i.e., the time between May 1, 2012, and August 20, 2012, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that defendants’ counsel require additional time to adequately prepare the
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(7)(A) & (B).
       DATED this 1st day of May, 2012.
                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
